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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 23, 2017, I will electronically file the foregoing with the

Clerk of Court using the CM/ECF, which will then send a notification of such filing (NEF) to

counsel of record.


                                      Dana J. Boente
                                      United States Attorney


                              By:                    /s/
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